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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION




JAMES SAMPSON, et al.,                        )
                                              )
                       Plaintiffs,            )        CASE NO. 1:17-cv-00658-MRB
                                              )
       v.                                     )        Judge Michael R. Barrett
                                              )
HAVERHILL COKE                                )        Magistrate Judge Karen L. Litkovitz
COMPANY, et al.                               )
                                              )
                       Defendants.            )

DEFENDANTS’ COMBINED MOTION AND MEMORANDUM FOR LEAVE TO FILE
   NOTICE OF MATERIAL DEVELOPMENTS REGARDING DEFENDANTS’
  OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Fed. R. Civ. P. 7 and S.D. Ohio Civ. R. 7.2(a)(2), Defendants SunCoke

Energy, Inc. and Haverhill Coke Company respectfully move for leave to notify the Court of

material developments regarding the Ohio Environmental Protection Agency’s (“OEPA”)

issuance of a Title V operating permit for Defendants’ facility in Franklin Furnace, Ohio (“the

Facility”). Following the May 2018 issuance of a draft Title V Permit for public comment, and a

public hearing on that draft in August 2018, OEPA investigated allegations that the Facility was

violating OAC 3725-15-07 (“the Nuisance Rule”). Then, on February 8, 2019, OEPA issued a

Preliminary Proposed Title V Permit for the Facility and, on June 14, 2019, OEPA issued a

Proposed Title V Permit for the Facility. Defendants request leave to provide this supplemental

authority and related information regarding these developments because they are material to the

Court’s evaluation of Plaintiffs’ Motion for a Preliminary Injunction. A copy of Defendants’

proposed filing is attached hereto as Exhibit 1.



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Dated: June 20, 2019                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2019, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system. Notice of this filing will be sent to D. David Altman,
daltman@environlaw.com; Justin D. Newman, jnewman@environlaw.com; and Robin A.
Burgess, rburgess@environlaw.com by operation of the Court’s electronic filing system. Parties
may access this filing through the Court’s system.



                                                      /s/ Roy D. Prather
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                                                       Attorney for Defendants




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